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 PROB 35                 Report and Order Terminating Probation/Supervised Release
(Rev. 6/17)                           Prior to Original Expiration Date



                                        United States District Court ' ;• . .
                                                    FOR THE
                                     SOUTHERN DISTRICT OF GEORGIA^:?]                   i 1 P 3- '!-3
                                             AUGUSTA DIVISION                           i   ^    '
                                                                                   ^.CU(U«L
              UNITED STATES OF AMERICA


                           V.                                  Crim.No.     I:17CR00047-4


                      Octavia Hall



       On January 8, 2020, the above named was placed on supervised release for a period of five years. He has
complied with the rules and regulations of supervised release and is no longer in need of supervision. It is
accordingly recommended that he be discharged from supervision.

                                                             Respectfully submitted,



                                                             Andrew J.doughty
                                                             United States Probation Officer


                                          ORDER OF THE COURT


       Pursuant to the above report, it is ordered that the defendant is discharged from supervision and that the
proceedings in the case be terminated.

         Dated this    /7^           day of May,2023.



                                                          J. RANDA     HALL,C^EF JUDGE
                                                          UNITED STATES DISTRICT COURT
                                                          SOUTFpiN DISTRICT OF GEORGIA
